                   Case 5:21-cv-00921-GLS-ATB Document 3 Filed 08/17/21 Page 1 of 3

AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                            for the
                                                NORTHERN District of NEW YORK




 BRANDON HANKS, AND OTHER SIMILARLY
       SITUATED INDIVIDUALS,
                            Plaintiff(s)
                      v.                                              Civil Action No.   5:21-cv-00921
 CITY OF SYRACUSE, KENTON BUCKNER, IN                         )
 HIS INDIVIDUAL CAPACITY; DEPUTY CHIEF                        )
   RICHARD TRUDELL, IN HIS INDIVIDUAL                         )
CAPACITY; DEPUTY CHIEF JOSEPH CECILE, IN                      )
     HIS INDIVIDUAL CAPACITY; POLICE                          )
  OFFICERS, CAPTAIN TIMOTHY GAY, IN HIS                       )
INDIVIDUAL CAPACITY; COLIN HILLMAN, IN                        )
      HIS INDIVIDUAL CAPACITY; DEREK                          )
   MCGORK, IN HIS INDIVIDUAL CAPACITY;                        )
    WILLIAM KITTELL, IN HIS INDIVIDUAL                        )
    CAPACITY; ANOTHONY FIORINI, IN HIS                        )
INDIVIDUAL CAPACITY; DAVID METZ, IN HIS                       )
 INDIVIDUAL CAPACITY; SHAWN HAUCK, IN
 HIS INDIVIDUAL CAPACITY; SUSAN IZZO, IN
HER INDIVIDUAL CAPACITY; ANN CLARK, IN
   HER INDIVIDUAL CAPACITY; BRANDON
  FOUGNIER, IN HIS INDIVIDUAL CAPACITY;
                and Does 1-100;
                           Defendant(s)

                                                SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address)
     ANN CLARK
     511 S. STATE STREET
     SYRACUSE, NY 13202



          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are:
LAW OFFICES OF BONNER & BONNER
475 GATE FIVE ROAD, SUITE 211
SAUSALITO, CA 94965
                    Case 5:21-cv-00921-GLS-ATB Document 3 Filed 08/17/21 Page 2 of 3

        If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
 You also must file your answer or motion with the court.



                                                                                 CLERK OF COURT


 Date:
                                                                                              Signature of Clerk or Deputy Clerk




AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)

 Civil Action No.          5:21-cv-00921

                                                     PROOF OF SERVICE
                     (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

           This summons for (name of individual and title, if any)
 was received by me on (date)                                         .

                I personally served the summons on the individual at (place)
                                                                                on (date)                               ; or

                I left the summons at the individual’s residence or usual place of abode with (name)
                                                                 , a person of suitable age and discretion who resides there,
           on (date)                               , and mailed a copy to the individual’s last known address; or

                I served the summons on (name of individual)                                                                       , who is
            designated by law to accept service of process on behalf of (name of organization)
                                                                                on (date)                               ; or

                I returned the summons unexecuted because                                                                             ; or

                Other (specify):
                                                                                                                                              .


           My fees are $                           for travel and $                  for services, for a total of $                           .


           I declare under penalty of perjury that this information is true.


 Date:
                                                                                            Server’s signature
               Case 5:21-cv-00921-GLS-ATB Document 3 Filed 08/17/21 Page 3 of 3

                                                           Printed name and title




                                                             Server’s address

Additional information regarding attempted service, etc:
